       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. James Wesley Amonett, Jr.
        v. Commonwealth of Virginia
        Record No. 1613-17-4
        Opinion rendered by Judge Humphreys on
        February 19, 2019

    2. Joaquin Shadow Rams, Sr., a/k/a, etc.
        v. Commonwealth of Virginia
        Record No. 1453-17-4
        Opinion rendered by Chief Judge Decker on
        February 26, 2019

    3. Kathryn Johnson, s/k/a
       Kathryn Eileen Johnson
       v. Commonwealth of Virginia
       Record No. 1478-17-2
       Opinion rendered by Judge Beales on
        March 5, 2019

    4. Clinard Gary Lambert
       v. Commonwealth of Virginia
       Record No. 1762-17-3
       Opinion rendered by Judge O’Brien on
        March 12, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Roland Baldwin
   v. Commonwealth of Virginia
   Record No. 0740-17-4
   Opinion rendered by Judge Petty
    on July 17, 2018
   Refused (181065)

2. Franklin Lee Thomason, Jr.
   v. Commonwealth of Virginia
   Record No. 1290-17-3
   Opinion rendered by Judge Humphreys
     on July 17, 2018
   Refused (181054)

3. Eric Hamilton
   v. Commonwealth of Virginia
   Record No. 0814-17-2
   Opinion rendered by Judge Beales
     on August 7, 2018
   Refused (181157)
       On May 2, 2019 the Supreme Court issued an opinion in the following case, which had been
appealed from this Court

    1. Tamara Felicia Brown
       v. Commonwealth of Virginia
       Record No. 0269-17-1
       Memorandum opinion rendered by Judge O’Brien on March 27, 2018
       Judgment of Court of Appeals affirmed
       (180537)
